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REO LAW, LLC
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Attorney for James Shelton &
Final Verdict Solutions

                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JACOVETTI LAW P.C., et. al                        │ Case No. 2:20-cv-00163-JDW
                                                  │
                                                  │ Honorable Joshua D. Wolson
                                                  │
          Plaintiffs,                             │
     v.                                           │
JAMES EVERETT SHELTON, &                          │
FINAL VERDICT SOLUTIONS                           │
                                                  │
                                                  │
               Defendants.                        │


   CORPORATE DISCLOSURE STATEMENT BY DEFENDANT FINAL VERDICT
                           SOLUTIONS
       Defendant James E. Shelton, individually and d/b/a Final Verdict Solutions, hereby

states that Final Verdict Solutions is not a corporation, and therefore, it has no parent corporation

and no publicly held corporation holds more than 10% of its stock. Rather, it is a “Fictitious

Business Name” registered to and owned by Defendant James Shelton. Mr. Shelton registered the

fictitious business name, Final Verdict Solutions, with the Pennsylvania Department of State on

March 7, 2016. Attached is a true and correct copy of Defendant’s fictitious business name

registration with the Pennsylvania Department of State.
         Case 2:20-cv-00163-JDW Document 9 Filed 02/16/20 Page 2 of 5




                                                                /s/ Bryan Anthony Reo

Dated: February 16, 2020                                        REO LAW, LLC
                                                                By: Bryan Anthony Reo
                                                                P.O. Box 5100
                                                                Mentor, OH 44061
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                                                                      Final Verdict Solutions

                            Certificate of Service
I, Bryan Anthony Reo, do hereby certify and affirm that a true and accurate copy of the
foregoing document was submitted to the Court’s Electronic Filing System on February
16, 2020, which should serve said document upon all attorneys of record for the instant civil
action:                                 /s/ BRYAN ANTHONY REO_________
                                        REO LAW LLC
                                        By: Bryan Anthony Reo (#0097470)
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                                        Mentor, OH 44061
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                                        Attorney for Defendants James Everett Shelton &
                                        Final Verdict Solutions
                Case 2:20-cv-00163-JDW Document 9 Filed 02/16/20 Page 3 of 5

                          COMMONWEALTH OF PENNSYLVANIA
                               DEPARTMENT OF STATE
               BUREAU OF CORPORATIONS AND CHARITABLE ORGANIZATIONS
                            401 NORTH STREET, ROOM 206
                                   P.O.BOX 8722
                             HARRISBURG,PA 17105-8722
                            WWW.CORPORATIONS.PA.GOV




James Shelton
316 Covered Bridge Road
King of Prussia PA 19406




Final Verdict Solutions



          THE BUREAU OF CORPORATIONS AND CHARITABLE ORGANIZATIONS IS HAPPY
TO SEND YOUR FILED DOCUMENT. THE BUREAU IS HERE TO SERVE YOU AND WE WOULD
LIKE TO THANK YOU FOR DOING BUSINESS IN PENNSYLVANIA.



            IF YOU HAVE ANY QUESTIONS PERTAINING TO THE BUREAU,PLEASE VISIT OUR
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                              ENTITY NUMBER : 6368615
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        Business Name History
            Name                                                                              Name Type

            Final Verdict Solutions                                                           Current Name


                                                                Business Entity Details
                                                                       Officers
            Name                                                   Final Verdict Solutions

            Entity Number                                          6368615

            Entity Type                                            Fictitious Names

            Status                                                 Active

            Citizenship                                            Domestic

            Entity Creation Date                                   03/07/2016

            Effective Date                                         03/07/2016

            State Of Inc                                           PA

            Address                                                316 Covered Bridge Road King of Prussia PA 19406 Montgomery



            Name                                                   James Shelton

            Title                                                  OWNER

            Address                                                316 Covered Bridge Road King Of Prussia PA 19406




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